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                           IN THE UNITED STATES DISTRICT CO URT
                                                                                              ENTERED
                           FO R THE SO UTH ERN DISTRICT OF TEXAS
                                                                                              12/21/2017
                                     HO USTON DIV ISION

 In Re:                                         b
                                                j
 Northwind Energy Partners,LLC                  j                            CaseNo:16-35225
                                                b
                 Debtor.                        b                                     Chapter7

 O RDER APPROVING FIRST AND FINAL FEE APPLICATION O F TH E CLARO GROUP,
    LLC FORENSIC ACCOUNTANT AND CONSULTANT TO RO NALD J.SO M M ERS,
                 CH APTER 7 TRUSTEE,FOR THE PERIOD O F
                  JANUARY 27 20 7 RO UGH JUNE 15 2017

          UponconsiderationoftheFirstandFina FeeApplicationoftheClaroGroup,LLC,Forensic
Accountantand ConsultanttoRonaldJ.Sommers,Chapter7 Trustee,forthePeriod oflanuary 27,
 2017throughJune 15,2017(the(tApplication''),filed by The Claro Group,LLC (ddAnplicant'' or
 ûtClaro''),andtheCourt,afterconsideringtheApplicationtindsthat(i)propernoticeoftheApplication
 wasgivenpursuanttoRule9013andnofurthernoticeisnecessary;(ii)thecompensationrequestedis
 foractual,necessary servicesrendered by Applicantandthatthereim bursem entofexpensesrequested

 isforactual,necessary expenses,
                               '(iii)the serviceswere necessary to theadministration of,and/or
 beneficialatthetimeatwhichtheservicewasrenderedtoward,thisbankruptcycase(iv)theservices
 were perform ed within a reasonable am ountoftim e com mensurate with the complexity,im portance

 and natureoftheproblem,issueortask addressed'
                                             ,(v)thecompensation isreasonablebased on the
 customary com pensation charged by com parably skilled practitionersin casesotherthan casesunder

 thistitle;(vi)noneoftheserviceswereunnecessarilyduplicative,
                                                            '(vii)noobjectionstotheApplication
 were tiled orotherwise raised and that(viii)al1feesand expensesshould be and areapproved on a
 tinalbasis.

          Accordingly,itistherefore

          ORDERED,thatthe Application is hereby approved and thatClaro is awarded fees in the

am ountof$33,208.00 and expensesin theamount$2l.02;and itisfurther
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          ORDERED,thatClaro shallapply the $25,000.00 retainerto the fees and expenses;and itis
further

          ORDERED,thatthe Trustee is authorized and directed to pay $8,229.02 to Claro;and itis
further

          ORDERED,thatthe foregoing fees and expensesare awarded on a finalbasis in connection

with Chapter7 proceedingsinitiated by Northwind Energy Partners,LLC.



          Signedthe2.6 dayof               G ,c()17

                                                    The Honorable JeffBohm
                                                    United StatesBankruptcy Judge




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